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PACHULSKI STANG ZIEHL & JONES LLP
Jeffrey N. Pomerantz (CA Bar No. 143717) (admitted pro hac vice)
Ira D. Kharasch (CA Bar No. 109084) (admitted pro hac vice)
John A. Morris (NY Bar No. 2405397) (admitted pro hac vice)
Gregory V. Demo (NY Bar No. 5371992) (admitted pro hac vice)
Hayley R. Winograd (NY Bar No. 5612569) (admitted pro hac vice)
10100 Santa Monica Blvd., 13th Floor
Los Angeles, CA 90067
Telephone: (310) 277-6910
Facsimile: (310) 201-0760

HAYWARD PLLC
Melissa S. Hayward (Texas Bar No. 24044908)
Zachery Z. Annable (Texas Bar No. 24053075)
10501 N. Central Expy, Ste. 106
Dallas, TX 75231
Tel: (972) 755-7100
Fax: (972) 755-7110

Counsel for Highland Capital Management, L.P.

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION
                                                                   §
In re:
                                                                   §   Chapter 11
                                                                   §
HIGHLAND CAPITAL MANAGEMENT, L.P., 1
                                                                   §   Case No. 19-34054-sgj11
                                                                   §
                                   Reorganized Debtor.
                                                                   §
                                                                   §
HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                                   §
                                                                   §   Adversary Proceeding No.
                                   Plaintiff,
                                                                   §
                                                                   §   21-03004-sgj
vs.
                                                                   §
                                                                   §
HIGHLAND CAPITAL MANAGEMENT FUND
                                                                   §
ADVISORS, L.P.,
                                                                   §
                                                                   §
                                   Defendant.
                                                                   §

       REORGANIZED DEBTOR’S WITNESS AND EXHIBIT LIST WITH RESPECT
          TO EVIDENTIARY HEARING TO BE HELD ON JANUARY 10, 2022




1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.

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         Highland Capital Management, L.P. (the “Reorganized Debtor”) submits the following

 witness and exhibit list with respect to Defendant’s Second Motion for Leave to Amend Answer

 and Brief in Support Thereof [Docket No. 82], which the Court has set for hearing at 9:30 a.m.

 (Central Time) on January 10, 2022 (the “Hearing”) in the above-styled adversary proceeding

 (the “Adversary Proceeding”).

         A.       Witnesses:

                  1.         Dennis C. Sauter;

                  2.         Any witness identified by or called by any other party; and

                  3.         Any witness necessary for rebuttal.

         B.       Exhibits:

Number                                       Exhibit                                Offered      Admitted


 1.           Complaint against HCMFA [Docket No. 109]

 2.           Amended Complaint against HCMS [Docket No. 109]

              Highland’s Consolidated Financial Statements, dated
 3.           December 31, 2018 [Docket No. 109]

 4.           HCMFA’s Incumbency Certificate, April 2019

 5.           Email string re 15(c) Follow up (10/2/21 – 10/6/21)

              HCMFA’s Consolidated Financial Statements and
 6.           Supplemental Information (December 31, 2018) [Docket No.
              109]
              5/2/19 e-mail and attachment (Promissory Note) [Docket No.
 7.           109]

 8.           5/3/19 e-mail [Docket No. 109]

 9.           5/3/19 Promissory Note [Docket No. 109]




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Number                                   Exhibit                              Offered      Admitted

              Supplemental 15(c) Information Request 10.23.20 [Docket No.
 10.          109]
              James Dondero's Objections and Responses to Highland
 11.          Capital Management, L.P.'s Second Set of Interrogatories
              [Docket No. 109]
 12.          Peet Burger 7/30/21 Deposition Transcript [Docket No. 109]

              James Dondero 11/4/21 Deposition Transcript [Docket No.
 13.
              109]
              Frank Waterhouse 10/19/21 Deposition Transcript [Docket
 14.
              No. 109]

 15.          Declaration of Dennis C. Sauter, Jr. [Docket No. 109]

              Email from David Klos to the Debtor’s Corporate Accounting
 16.          group, with a copy to Melissa Schroth, dated February 2, 2018
              [Docket No. 109]

              (a) Email from Blair Hillis to David Klos and the Debtor’s
              Corporate Accounting group, with a copy to Melissa Schroth,
 17.          dated August 1, 2018 and (b) an email from David Klos to the
              Debtor’s Corporate Accounting group, with a copy to Melissa
              Schroth, dated August 1, 2018 [Docket No. 109]

 18.          Dustin Norris 12/1/21 Deposition Transcript [Docket No. 109]

              Dennis C. Sauter 11/17/21 Deposition Transcript [Docket No.
 19.
              109]
              Kristin Hendrix 10/27/21 Deposition Transcript [Docket No.
 20.
              109]

 21.          David Klos 10/27/21 Deposition Transcript [Docket No. 109]

              Debtor’s back-up for the December Monthly Operating
 22.          Report, titled “December 2019 Due From Affiliates” [Docket
              No. 109]
              Debtor’s back-up for the September Monthly Operating
 23.          Report, titled “September 2020 Due From Affiliates” [Docket
              No. 109]
              Debtor’s back-up for the January 2021 Monthly Operating
 24.          Report, titled “January 2021 Due From Affiliates” [Docket No.
              109]

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Number                                    Exhibit                               Offered      Admitted

              Debtor’s January 2021 Affiliates Loan Receivables Summary
 25.
              [Docket No. 109]
              Email from Kristin Hendrix to Jim Dondero, with a copy to
 26.          Frank Waterhouse, dated August 29, 2020 regarding 7/31/20
              HCMLP Requests (REDACTED) [Docket No. 109]
              Email from Kristin Hendrix to Jim Dondero, with a copy to
              Frank Waterhouse and David Klos, dated April 27, 2020
 27.
              regarding HCMLP Schedule of Investments (REDACTED)
              [Docket No. 109]
              Declaration of David Klos in Support of HCMLP’s Motion for
 28.
              Partial Summary Judgment [Docket No. 109]
              Declaration of Hayley R. Winograd in Support of HCMLP’s
 29.          Opposition to HCMFA’s Second Motion to Amend [Docket
              No. 109]
              Email to counsel for HCMFA on October 25, 2021 producing
 30.
              word versions of the HCMFA Notes [Docket No. 109]
              Any document entered or filed in the Adversary Proceeding,
 31.
              including any exhibits thereto
              Any document entered or filed in the Reorganized Debtor’s
 32.
              Bankruptcy Case, including any exhibits thereto
              All exhibits necessary for impeachment and/or rebuttal
 33.
              purposes
              All exhibits identified by or offered by any other party at the
 34.
              Hearing




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Dated: January 6, 2022.                  PACHULSKI STANG ZIEHL & JONES LLP

                                         Jeffrey N. Pomerantz (CA Bar No. 143717)
                                         Ira D. Kharasch (CA Bar No. 109084)
                                         John A. Morris (NY Bar No. 266326)
                                         Gregory V. Demo (NY Bar No. 5371992)
                                         Hayley R. Winograd (NY Bar No. 5612569)
                                         10100 Santa Monica Blvd., 13th Floor
                                         Los Angeles, CA 90067
                                         Telephone: (310) 277-6910
                                         Facsimile: (310) 201-0760
                                         Email: jpomerantz@pszjlaw.com
                                                 ikharasch@pszjlaw.com
                                                 jmorris@pszjlaw.com
                                                 gdemo@pszjlaw.com
                                                 hwinograd@pszjlaw.com-and-

                                         -and-

                                         HAYWARD PLLC
                                         /s/ Zachery Z. Annable
                                         Melissa S. Hayward
                                         Texas Bar No. 24044908
                                         MHayward@HaywardFirm.com
                                         Zachery Z. Annable
                                         Texas Bar No. 24053075
                                         ZAnnable@HaywardFirm.com
                                         10501 N. Central Expy, Ste. 106
                                         Dallas, Texas 75231
                                         Tel: (972) 755-7100
                                         Fax: (972) 755-7110
                                         Counsel for Highland Capital Management, L.P.




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